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                        IN THE UNITED STATES DISTRICT COURT
12                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN JOSE DIVISION
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     MATT JONES, BRYSON DECHAMBEAU,           CASE NO. 5:22-cv-04486-BLF
14   PETER UIHLEIN, and LIV GOLF INC.,
                      Plaintiffs,             [PROPOSED] ORDER GRANTING
15                                            ADMINISTRATIVE MOTION FOR A
          v.                                  BRIEFING SCHEDULE FOR
16                                            THE MOTION TO DISMISS OF THE
     PGA TOUR, INC.,
                                              PUBLIC INVESTMENT FUND OF THE
17                    Defendant and           KINGDOM OF SAUDI ARABIA
                      Counter-Plaintiff,      AND HIS EXCELLENCY
18                                            YASIR O. AL-RUMAYYAN
          v.
19   LIV GOLF INC., THE PUBLIC
     INVESTMENT FUND OF THE KINGDOM
20   OF SAUDI ARABIA, AND YASIR
     OTHMAN AL-RUMAYYAN,
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                      Counter-Defendants.
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     [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SET A BRIEFING SCHEDULE FOR THE
                         MOTION TO DISMISS * CASE NO. 5:22-CV-04486-BLF
          Case 5:22-cv-04486-BLF Document 386-3 Filed 04/04/23 Page 2 of 2


1           Now before the Court is Counter-Defendants’, the Public Investment Fund of the Kingdom of
2    Saudi Arabia (“PIF”) and His Excellency Yasir Othman Al-Rumayyan’s administrative motion to set
3    a briefing schedule on their anticipated motion to dismiss the Amended Counterclaim of PGA Tour,
4    Inc. (the “Tour”) (Dkt. No. 289). For good cause shown, the motion is GRANTED. PIF and Mr. Al-
5    Rumayyan’s motion to dismiss the Amended Counterclaim SHALL be due May 18, 2023. The Tour’s
6    opposition to the motion to dismiss, if any, SHALL be due on June 19, 2023. The reply, if any, SHALL
7    be due on July 10, 2023.
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            IT IS SO ORDERED.
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11   Dated: _____________________              _____________________________________
                                                   HON. BETH LABSON FREEMAN
12                                                UNITED STATES DISTRICT JUDGE
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        [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION FOR A BRIEFING SCHEDULE FOR THE
                           MOTION TO DISMISS * CASE NO. 5:22-CV-04486-BLF
